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UNITED STATES DISTRICT COURT ' "" D'C'
WESTERN DISTRICT OF TENNESSEE 05 AUG l l PH h: 23
Western Division

   

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UNITED srArEs 0F AMERICA `\i'.-"tl' o =»i;:"-.-lPa:S
-v- Case No. 2 :05cr20274-001Ma
BENJAMIN LOGAN
ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:
(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this

case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attomey in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Court:room Courtroom # on Day, Date, at Time.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTI-]ER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of 510,000 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: $1,000.

0 report as directed by the Pretn'al Services Oft`ice.

0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted
in residence and travel to the Western District of Tennessee.

0 Refrain from possessing a firearm, destructive device, or other dangerous Weapon.

0 Participate in an electronic monitoring program as directed by Pretn'al Services. You shall pay all or part of
the cost of the program based upon your ability to pay as determined by Pretrial Services.

This dooLmsnt entered on the docket sheet in com |iance

AO19BA OrderSetting Condit|onsofRe|ease with ama 55 andfor éb?b} FRCIP on '

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0 Participate in one of the following home confinement program components and abide by all the requirements
of the program which may include electronic monitoring or other location verification system. You shall pay
all or part of the cost of the program based upon your ability to pay as determined by Pretiial Services.

Curfew: You are restricted to your residence every day from 6:00 p.m. to 4:30 a.m. , or as
directed by the Pretrial Services Office for attending classes upon their verification of his
enrollment in college and hours of classes.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of impiisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a tenn of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a tertii of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

AO 199A Order Setting Conditions of Release -2- .

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ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above.

Signature of Defendant

Benjarnin Logan
7493 Quiclcsilver Cv.
Memphis, TN 38125
901-753-3718

DlRECTlONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Ofiicer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: August l l, 2005 A ~S

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Ao issA order setung conditions of Retease -3-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20274 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

